Case 1:21-cr-20324-JEM Document 245 Entered on FLSD Docket 07/11/2022 Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 1:21-20324-CR-Martinez

  UNITED STATES OF AMERICA,

                        Plaintiff,

  VS.

  DEANDRE GABRIEL,

                    Defendant.
  ____________________________________/

                                      NOTICE OF APPEAL

         The Defendant/Appellant, DeAndre Gabriel, gives notice that he is appealing to the

  United States Court of Appeals for the Eleventh Circuit from the Judgement in a Criminal Case in

  entered on 6/29/2022 [DE. 240].

         Mr. Gabriel is currently in custody.


                                                     Respectfully submitted,




                                                     /s/
                                                     Adam K. Goodman
                                                     Attorney for the Defendant
                                                     Florida Bar #41096
                                                     19790 W. Dixie Highway, Suite 810
                                                     Miami, Florida 33180
                                                     Tel: (305) 482-3265
                                                     Fax: (888)-316-5336
                                                     adam@adamgoodmanlaw.com
Case 1:21-cr-20324-JEM Document 245 Entered on FLSD Docket 07/11/2022 Page 2 of 2




                                   CERTIFICATE OF SERVICE

         I hereby certify that on July 11, 2022, undersigned electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF which will send notification of such filing

  the United States Attorney’s Office, Southern District of Florida.




                                                       Adam K. Goodman, Esq.
